UN|TED STATES DISTR|CT COURT
THE M|DDLE DlSTRlCT OF TENNESSEF.

JlMMY HlGG|NS, JAMES THOMAS HIGGlNS,
THE JIMMY T. HlGG|NS L|V|NG TRUST, and
THE HlGGINS FAMILY PARTNERSH|P, L.P.,

Plaintiffs
JUDGE:

THE BURLINGTON lNSURANCE COMPANY, and

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)
§
v. ) oocKET No.
§
GRANGE MuTuAL cAsuALTY coMPANY )
)
)

Defendants

 

JOlNT NOT|CE OF REMOVAL

 

TO: The Judges of the United Stai;es Court for the Nliddle District of Tennessee:

Come the defendants, Grange Mutual Casualty Company and The Burlington |nsurance
Company, by and through counsel, and pursuant to 28 U.S.C. §§ i441, 1446, and 1332, and
would respectfully show as follows:

1. On .fanuary 6, 2015, an action was commenced in the Chancery Court of Cannon
County, Tennessee, entitled Jimmy Hiqqins, James Thomos Hiqqins, The Jimmy T. Hiqgins
Livinq Trust, and The Hiqqins Family Partnership, L.P. v. The Burlington lnsurance Company,
and Granqe Mutual Casualty Company, No. 15-02, by the filing of a Complaint with the Chancery
Court Clerk of Cannon County, Tennessee. The defendants wish to exercise their rights to
remove this case to the United States District Court for the Middle District of Tennessee.
Pursuant to 28 U.S.C. § 1446, the defendants attach herewith and incorporate herein by
reference a true and correct copy of all pleadings served upon the defendants as Collective
Exhibit A.

2. The summons and complaint in the above-described action were filed with the

Tennessee Secretary of State on January 20, 2015. The Tennessee Secretary of State mailed

Case 3:15-cv-00128 Document 1 Filed 02/11/15 Page 1 of 4 Page|D #: 1

the summons and complaint to defendants Grange Mutual Casualty Company and The Burlington
insurance Company on January 22, 2015 and the defendants received the summons and
complaint shortly thereafter. Thus, in accordance with the requirements of 28 U.S.C. § 1446,
this Petition for Removal was filed within thirty (30) days of the service of the Complaint on the
defendants, and is therefore timely.

3. The case stated by the Complaint served upon Defendant Grange Mutual Casualty
Company and The Burlington |nsurance Company is removable to this Court under 28 U.S.C. §
1441, in that the Plaintiffs, Jimmy Higgins, James Thomas Higgins, The Jimmy T. Higgins Living
Trust, and The Higgins Family Partnership, i_.P., at the time of this action was commenced are
citizens of the State of Tennessee. Defendant Grange Mutual Casuaity Company was, at the
time this action was commenced, and still is, an Ohio corporation with its principle place of
business in the State of Ohio. Defendant The Burlington insurance Company was, at the time
this action was commenced, and still is, a North Carolina Corporation with its principal place of
business in the State of North Carolina.

4. The above-described action is a civil action for declaratory judgment of which
this court has original jurisdiction pursuant to the provisions of 28 U.S.C. § 1332 and is one which
may be removed to this Court by the Defendants pursuant to the provisions of 28 U.S.C. § 1441,
in that complete diversity of citizenship exists between the parties. Therefore, this Court has
original jurisdiction over this action. In addition, the actual amount in controversy sought by
the Piaintiffs in the underlying case is for a total of Ten Million Dollars compensatory damages,
exclusive of interest and costs, and Ten Million Dollars punitive damages, which far exceeds the
jurisdictional minimum of Seventy-Five Thousand and 00/ 100 Doliars (575,000.00).

5. By reason of the premises, the Defendants desire, and are entitied, to have this
cause removed from the Chancery Court of Cannon County, Tennessee to the United States

District Court for the Middle District of Tennessee, such being the district where the suit is

Case 3:15-cv-00128 Document 1 Fiéd 02/11/15 Page 2 of 4 Page|D #: 2

pending, and conditioned that the Defendants will pay all costs incurred by reason of these
removal proceedings should it be determined that this cause was not removable or was
improperly removed.

6. Written Notice of Fiiing of this Petition for Removal shall be given to the adverse
parties as required by law, and a copy of this written notice, without exhibits, filed with the
Clerk of the Chancery Court of Cannon County, Tennessee, is attached hereto as Exhibit B.

7. A true and correct copy of this Petition for Removal shall be filed with the Clerk
of the Chancery Court of Cannon County, Tennessee, as provided by law.

8. By filing this Notice of Rernoval, defendants Grange Mutual Casualty Company
and The Burlington insurance Company do not waive any defense(s) availabie to them.

WHEREFORE, Defendants, Grange Mutual Casualty Company and The Buriington
insurance Company, respectfully pray that the above-described action now pending against
them in the Chancery Court for Cannon County, Tennessee, be removed therefrom to this Court
and placed upon the docket of this Court for further proceedings, the same as though this action
had originally been instituted in this Court.

Dated this §§ day of February, 2015.

Respectfully submitted:

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Case 3:15-cv-00128 Document 1 Fi|éd 02/11/15 Page 3 of 4 PageiD #: 3

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Attorneys for The Buriington insurance Company

CERT|FiCATE OF SERVICE

i hereby certify that on the §§ day of February, 2015, a true and correct copy of the
foregoing has been furnished, via U.S. Mail, postage pre-paid, to the following:

Gayle i. Malone

Jason W. Cailen

Walker, Tipps & Maione, PLC
2300 One Nashville Piace
150 Fourth Avenue North
Nashville, TN 37219

 

 

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Case 3:15-cv-00128 Document 1 Fiied 02/11/15 Page 4 of 4 PageiD #: 4

